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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                Judge William J. Martínez

   Civil Action No. 19-cv-3253-WJM-MEH

   ALTITUDE SPORTS & ENTERTAINMENT, LLC,

         Plaintiff,

   v.

   COMCAST CORPORATION and
   COMCAST CABLE COMMUNICATIONS, LLC,

         Defendants.


          ORDER GRANTING STIPULATION OF DISMISSAL WITH PREJUDICE


         This matter comes before the Court on the Parties’ Joint Stipulation of Dismissal

   with Prejudice, filed March 17, 2023 (ECF No. 190). The Court having reviewed the

   Stipulation and being fully advised hereby ORDERS as follows:

         The Parties’ Stipulation of Dismissal is GRANTED. Pursuant to Rule 41(a)(1),

   Fed.R.Civ.P., the above-captioned action is hereby DISMISSED WITH PREJUDICE.

   Each party shall pay its own attorney’s fees and costs.


         Dated this 20th day of March, 2023.

                                                   BY THE COURT:



                                                   _______________________
                                                   William J. Martínez
                                                   Senior United States District Judge
